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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA ) Criminal No. 3:24-cr-152-DJN

)
v. ) Wire Fraud

) 18 U.S.C. § 1343

CHRISTOPHER A. HARRISON, ) (Count 1)
)

Defendant. )

) Forfeiture Notice

CRIMINAL INFORMATION

The United States Attorney charges that:
INTRODUCTORY ALLEGATIONS

At all times relevant and material to this Criminal Information:

1. The defendant, CHRISTOPHER A. HARRISON (hereafter, “HARRISON”), and
is areal estate developer.

Qe The Virginia Housing Development Authority (“VHDA”) is a not-for-profit
mortgage finance agency created by the Commonwealth of Virginia to help low- and moderate-
income Virginians attain quality, affordable housing. VHDA is based in Richmond, Virginia,
within the Eastern District of Virginia.

3. The Model Tobacco Project was a fifteen-acre collection of seven buildings in
Richmond, Virginia, within the Eastern District of Virginia, centered around the Model Tobacco
Building that had previously served as a factory for the United States Tobacco Company.
Sometime before October 2020, HARRISON became interested in acquiring the property and

converting the buildings into an apartment complex.
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4, HARRISON owned, operated, and managed various corporate entities related to
his real estate development work with the Model Tobacco Project: C.A. Harrison Companies, LLC
(“CAHC”), CAH Model Tobacco, LLC, and McKenzie Blake Development Company, LLC
(“MBDC”).

5. For MBDC, HARRISON opened, maintained, and controlled a bank account at
Navy Federal Credit Union ending in 2291 (“MBDC Bank Account”).

6. In or about October 2020, HARRISON sought to obtain a bridge loan from Cedar
Rapids Bank & Trust (“CRBT”), which funds were to be applied towards the development and
construction of the Model Tobacco Project. On or about October 27, 2020, HARRISON executed
a loan agreement with CRBT, signing the agreement as the Manager of MBDC.

7. On or about October 27, 2020, as part of receiving the bridge loan, HARRISON
entered into a separate disbursing agreement with CRBT, which set forth that in advance of
CRBT’s disbursement of loan proceeds, the Borrower (i.e., HARRISON) was required to submit
_ a signed draw request to CRBT with evidence that HARRISON had satisfied conditions of
disbursement. One condition of disbursement was that HARRISON had to submit: (1) statements
of costs paid to contractors; and (2) evidence that such contractors waived liens arising from the
work done on the Model Tobacco Project.

8. On or about October 27, 2020, HARRISON and VHDA finalized a construction
loan for the construction and development of the Model Tobacco Project. As part of this lending
agreement and relationship, HARRISON was requiredto provide VHDA with the draw packets
— including invoices and lien waivers — he submitted to CRBT for each construction draw.
Further, HARRISON was required to provide VHDA with proof showing that HARRISON had

paid the invoices in question with the bridge loan proceeds he received from CRBT.
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SCHEME AND ARTIFICE TO DEFRAUD

9, The allegations contained in the preceding paragraphs are realleged and
incorporated as if fully set forth herein.

10. CHRISTOPHER A. HARRISON, the defendant herein, devised and intended to
devise a scheme and artifice to defraud, and to obtain money by means of materially false and

fraudulent pretenses, representations, and promises.
Purpose and Object of the Scheme

11. The primary purpose and object of HARRISON’s scheme was to: (1) generate
falsified and inflated contractor invoices and lien waivers; (2) submit falsified and inflated invoices
to CRBT and VHDA for loan disbursement; (3) enrich himself with inflated loan proceeds; and

(4) conceal HARRISON’ falsification of invoices and lien waivers from CRBT and VHDA.
Manner and Means of the Scheme

12. The various ways and means through which HARRISON sought to accomplish the
purpose of his scheme to defraud included the following.

A. Inflated Invoice and Lien Waiver Submitted as Part of Third Draw to CRBT Bridge Loan

13. On or about January 22, 2021, a construction company named Dickens
Construction, based in the Eastern District of Virginia, submitted to HARRISON via e-mail two
invoices in the approximate amounts of $27,152 and $1,225, seeking payment for excavation work
performed on the Model Tobacco Project. Using Dickens Construction’s submitted invoice as a
template, HARRISON doctored an invoice to falsely reflect an inflated balance of $95,200 owed
to Dickens Construction.

14. On or about January 30, 2021, HARRISON prepared a template lien release and e-

mailed it to a representative of Dickens Construction, requesting signature. The template
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HARRISON provided to Dickens Construction reflected that the amount owed to Dickens
Construction for work performed was $35,477—the total balance owed to Dickens Construction,
including, but not limited to, the amounts from the two invoices from January 22, 2021—and
specified that Dickens Construction would waive any liens in the Model Tobacco Project in
connection with such work. On or about February 1, 2021, a representative of Dickens
Construction signed the lien release that HARRISON prepared, including obtaining a notarization
on the signature page. On February 1, 2021, HARRISON thereafter asked Dickens Construction
to overnight mail the lien release to HARRISON’s address. Thereafter, HARRISON chopped off
the notarization signature page of Dickens Construction’s submittal, appending it to a doctored
lien waiver that listed a contract amount of $95,200 (the same inflated amount HARRISON listed
on the doctored invoice).

15. On or about February 1, 2021, HARRISON submitted and caused to be submitted
the inflated invoice and lien waiver for Dickens Construction to CRBT in anticipation of receiving
a portion of the third draw disbursement of the bridge loan. HARRISON also withheld the genuine
Dickens Construction invoices and lien waiver from CRBT.

16. As a result of HARRISON’s false submittal to CRBT, HARRISON obtained
approximately $95,200 in loan disbursements for the inflated Dickens Construction invoice, which
was $59,723 more than HARRISON would have received based on the work performed and

invoiced by Dickens Construction.
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B. Inflated Invoice and Lien Waiver Submitted as Part of Fifth Draw to CRBT Bridge Loan

17. On or about March 18, 2021, Dickens Construction sent HARRISON via e-mail an
invoice in the approximate amount of $12,979, seeking payment for basement work performed on
the Model Tobacco Project. HARRISON doctored this Dickens Construction invoice to falsely
reflect an inflated balance of $119,860 owed to Dickens Construction.

18. On or before April 1, 2021, HARRISON prepared a template lien release and
provided it to a representative of Dickens Construction, requesting signature. The template
HARRISON provided to Dickens Construction reflected that the amount owed to Dickens
Construction for work performed to date was $15,334—1the total balance owed to Dickens
Construction, including, but not limited to, the amount from the invoice from March 18, 2021—
and specified that Dickens Construction would waive any liens in the Model Tobacco Project in
connection with their work. On or about April 1, 2021, a representative of Dickens Construction
signed the lien release that HARRISON prepared, including obtaining a notarization on the
signature page, emailing the document to HARRISON on April 2, 2021. Thereafter, HARRISON
chopped off the notarization signature page of Dickens Construction’s submittal, appending it to a
doctored lien waiver that listed a contract amount of $119,860 (the same inflated amount
HARRISON listed on the doctored invoice).

19. On or about April 7, 2021, HARRISON submitted and caused to be submitted the
inflated invoice and lien waiver for Dickens Construction to CRBT in anticipation of receiving a
portion of the fifth draw disbursement of the bridge loan. HARRISON also withheld the genuine

Dickens Construction invoice and lien waiver from CRBT.
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20. As a result of HARRISON’s false submittal to CRBT, HARRISON obtained
approximately $119,860 in loan disbursements for the inflated Dickens Construction invoice,
which was $104,526 more than HARRISON would have received based on the work performed
by and invoiced by Dickens Construction.

C. Submitting False Invoices to VHDA

21. | HARRISON submitted the invoices and lien releases previously submitted to
CRBT to VHDA (including falsified documents in the name of Dickens Construction). VHDA
required additional supporting documentation to show that certain vendors had been paid.
HARRISON concealed his fraudulent and inflated invoices by manufacturing fictitious payments
to Dickens Construction.

22. For instance, to conceal that he had submitted a fraudulent and inflated invoice for
Dickens Construction in the approximate of $95,200 to CRBT as part of the third CRBT loan draw
for the Model Tobacco Project, HARRISON took out a cashier’s check in the approximate amount
of $95,200 on or about February 8, 2021 addressed to Dickens Construction. On or about April
12, 2021, HARRISON submitted an image of this check to VHDA, purporting that Dickens
Construction had been paid this inflated amount. However, HARRISON did not pay Dickens
Construction this $95,200. Rather, on or about the same day HARRISON took out this cashier’s
check, after he scanned the check for submittal to VHDA, HARRISON redeposited the check into
his own account.

23. Additionally, to conceal that he had submitted a fraudulent and inflated invoice for
Dickens Construction in the approximate amount of $119,860 to CRBT as part of the fifth CRBT
loan draw request for the Model Tobacco Project, HARRISON took out a cashier’s check in the
approximate amount of $119,860 on or about April 9, 2021, addressed to Dickens Construction.

On or about May 3, 2021, HARRISON submitted an image of this check to VHDA, purporting
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that Dickens Construction had been paid this amount. However, HARRISON did not pay Dickens
Construction this $119,860. Rather, on or about the same day HARRISON took out this cashier’s

check, after he scanned the check for submittal to VHDA, HARRISON redeposited it into his own

account.
COUNT ONE
(Wire Fraud)
24. The allegations contained in the preceding paragraphs of this Criminal Information,

including subparagraphs, are realleged and incorporated as if fully set forth herein.

25. On or about the dates set forth below, in the Eastern District of Virginia and
elsewhere, for the purposes of executing the above-described scheme and artifice to defraud and
for obtaining money and property by means of materially false and fraudulent pretenses,
representations, and promises, and attempting to do so, defendant CHRISTOPHER A.
HARRISON knowingly caused to be transmitted by means of wire communication in interstate

commerce, the writings, signs, signals, pictures, and sounds described below:

Date of Wire
Transmission (on
or about)

Count Description of Wire Transmission

As a result of HARRISON generating fabricated invoices in the
name of Dickens Construction and because HARRISON
submitted these fraudulent documents to Cedar Rapids Bank &
Trust Company in Cedar Rapids, Iowa in connection with the
Model Tobacco Project, HARRISON obtained approximately
$95,200 for payments to Dickens Construction, when in fact
HARRISON had only been invoiced by Dickens Construction
for $35,477 at the time. Specifically, on or about February 3,
2021, CRBT disbursed a portion of these loan proceeds to
HARRISON’s MBDC Bank Account at Navy Federal Credit
Union ending in 2291 (with servers in the Eastern District of
Virginia), causing an interstate wire transmission to be initiated
from outside of Virginia into the Eastern District of Virginia.

1 February 3, 2021

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(In violation of Title 18, United States Code, Section 1343.)

FORFEITURE ALLEGATION

Pursuant to 32.2 of the Federal Rules of Criminal Procedure, the defendant is hereby

notified that upon conviction of the offense charged in Count One of this Criminal Information,

the defendant shall forfeit to the United States any property, real or personal, which constitutes or

is derived from any proceeds traceable to the offense.

If the property subject to forfeiture cannot be located, the United States will seek

an order forfeiting substitute assets.

(In accordance with Title 18, United States Code, Sections 982(a)(1), 982(a)(2) and
981(a)(1)(C), as incorporated by Title 28, United States Code, Section 2461 and Title 21, United
States Code, Section 853(p).)

By:

Respectfully submitted,

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UNITED STATES ATTORNEY

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